Case 1:21-cr-00229-RBJ Document 247-1 Filed 04/10/22 USDC Colorado Page 1 of 5




     A. Questioning By Defense Counsel Concerning Defendants’ Compensation1
     Q. Why is it important to a company not just to be able to attract talented leaders, but
     retain them?
     A. Because businesses -- or at least well-run businesses invest heavily in the
     development of their talent.
     Q. It goes and says, “That in order to attract and retain executives who are not only
     outstanding leaders but who also embody our mission and values, we strive to provide
     compensation that is reasonable and provides the best value for our stockholders but
     is also sufficient to achieve our recruitment and retention objectives.” Is that a true
     statement?
     A. Yes.
 Tr. at 58:5-16.
     MS. BROOKS: Thank you. If we could put back up -- I wasn’t quite accurate, Mr.
     Whitney. I’m sorry. There was one more page I wanted to show you in Government
     Exhibit 262, and that is page 42. If we could blow up where it says “Market
     competitiveness.” And this is in the same Schedule 14A, the proxy statement.
     BY MS. BROOKS: Q. It says here, “We evaluate the overall competitiveness of our
     executives’ total direct compensation each year in order to assist in executive
     retention.” Are you familiar with that concept, where you see whether or not
     DaVita is being competitive in their compensation for their executives?
     A. Yes.
     Q. Is this a good thing or a bad thing for the employees, the executives?
     A. I would –
     MS. CLINGAN: Your Honor, I object to the relevance of, this again this is 2011, it
     predates -- THE COURT: Overruled.
     BY MS. BROOKS:
     Q. You may answer, Mr. Whitney.
     A. Can you repeat the question?
     Q. Whether looking at other peer companies to see what they’re paying their
     executives, is that a benefit or a burden to the employees or executives at DaVita?
     A. I would think it would be a benefit.


 1
  All transcript citations are to cross-examination of government witness Richard Whitney by Defendants’ counsel
 on Friday, April 8, 2017.

                                                         1
Case 1:21-cr-00229-RBJ Document 247-1 Filed 04/10/22 USDC Colorado Page 2 of 5




    Q. Why would that be?
    A. Because it ensures that the compensation being offered is fair and competitive.
    Q. Let’s look at how DaVita went about that. For 2011, the next sentence, “The
    compensation committee retained Compensia, an independent national compensation
    consulting firm to perform a comprehensive market analysis of our executive
    compensation programs and pay levels.” And I don't -- I don't know the answer to
    this, Mr. Whitney. Are you familiar Compensia.
    A. Yes.
    Q. Can you tell the ladies and gentlemen of the jury what Compensia does?
    A. It’s a compensation consultant that does market surveys to provide information
    about the competitiveness of a company’s compensation programs.
    Q. And if we go to the next page, there appears to be a chart that was put together by
    Compensia of peer groups. It’s referred to as -- Maybe we can make sure we can see
    the top here. So we don’t have to go back, I'll read what it says on the previous page.
    “In addition to public executive compensation data, the compensation committee” --
    then we’ll go here – “reviewed the compensation practices of our comparator peer
    group for purposes of benchmarking and to understand general compensation
    practices of our peers.” And it says, “consisting of the following companies,” and
    then you see a list. Do you see that, Mr. Whitney?
    A. Yes.
    Q. What's the purpose of this? Why pull together this sort of peer group data?
    A. Again, I think the process is one in which you’re comparing your compensation
    practices to others in the -- in similar markets, others you might be competing with
    for talent, to understand where you sit relative to compensation levels and structure,
    different kinds of programs, et cetera.
    Q. Thank you.
 Tr. at 64:7-66:20.
    B. Questioning By Defense Concerning Defendants’ Willingness to Let Employees
       Leave
    Q. Were there hard feelings that -- over the fact that you left?
    A. No.
    Q. So did you feel that you had a very positive end to your relationship at DaVita, which had
    been on and off since 1995, and now we’re talking about 2011?
    A. Yes.


                                                  2
Case 1:21-cr-00229-RBJ Document 247-1 Filed 04/10/22 USDC Colorado Page 3 of 5




 Tr. at 54:24-55:5.
    Q. So it was viewed positively if an executive left DaVita and took those DaVita values and
    instilled them in another corporation?
    A. Yes.
    Q. So once you were inside the village wall, you were still able to get out?
    A. Yes.
    Q. Nobody stopped you?
    A. No.
 Tr. at 73:6-14.
    C. Questioning By Defense Counsel Concerning Defendants’ Corporate Citizenship
       and Integrity
    Q. Let’s look at the one below that, “Good corporate citizenship.” Based on your
    experience at DaVita, what kind of traits would a good corporate citizen have?
    A. Lots of different things. They might -- one -- one measure might be how they -- in
    terms of how they behaved on the team and in their role, and was it consistent with
    the values that we had all agreed were important to people that worked at DaVita.
    Q. And what are the values? You've mentioned values and mission, what were they?
    What was the mission, what was the value?
    A. The values were service, integrity, team, continuance improvement,
    accountability, and fun.
    …
    Q. And based on your interactions with Mr. Thiry all of these years, did he try to
    embody those values?
    A. Yes, definitely.
 Tr. at 63:2-20.
    Q. And were village values -- did village values include integrity?
    A. Yes.
    Q. Teamwork?
    A. Yes.
    Q. Continuance improvement?
    A. Yes.

                                                 3
Case 1:21-cr-00229-RBJ Document 247-1 Filed 04/10/22 USDC Colorado Page 4 of 5




    Q. Accountability?
    A. Yes.
    Q. And fulfillment?
    …
    Q. Did you try to live by those values when you were at DaVita?
    A. Yes.
    Q. Did Mr. Thiry try to live by those values when he was CEO of DaVita?
    A. Yes.
 Tr. at 68:9-69:8 (emphasis added).
    D. Questioning By Defense Counsel Concerning Diversity
     Q. Well, let’s talk about the next part, then, about executive referrals. You may not
     know this, Mr. Whitney; but so far, there has been, other than Ms. Fanning, nothing but
     white males sitting in that chair. Is it difficult to get females and minority talent at the
     executive level? Is there a lot -- is there a big pool there?
     A. It's difficult, yes.
     Q. Why is that? I personally want to know, why is that?
     A. I don't know. There is a lot of reasons.
     Q. Well, could potentially one of the reasons be that if you go somewhere, and nobody
     looks like you, you may not want to go there; is that fair?
     A. I think that's fair.
      Q. And Mr. Thiry is asking Ms. Ertan, would it be okay if there was a potential female
     executive, thinking about coming to DaVita, if he referred that person to Ms. Ertan as a
     reference? Do you see that?
     A. That’s how I interpret this, yes.
     Q. As a CEO, do you think this is a good idea or a bad idea?
     A. A very good idea.
     Q. And why is that?
     A. Because as you pointed out, it is -- it is difficult to attract and retain sufficient
     numbers of female executives, and having a reference from someone who feels good
     about their time at DaVita would speak very highly of the leadership team and the
     culture and how female executives have the ability to succeed there, would be a positive
     reference for recruiting this hypothetical female executive.

                                                   4
Case 1:21-cr-00229-RBJ Document 247-1 Filed 04/10/22 USDC Colorado Page 5 of 5




     Q. And do you know whether or not diversity was one of the top priorities for Mr.
     Thiry?
     A. It was a priority, yes.
 Tr. at 90:18-91:23 (emphasis added).




                                               5
